Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.800 Filed 07/11/22 Page 1 of 66



               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


DAVONTAE ROSS,
TIMOTHY LUCAS,
STARMANIE JACKSON,
KUSHAWN MOORE, JR., a minor,
by his parent and next friend,
KUSHAWN MOORE, SR.,
ASIA DIXON,
KEITH WILSON, and
KATRINA GARDNER,

       On behalf of themselves and all
others similarly situated,                 Case No. 2:19-cv-11076
                                           Hon. Laurie J. Michelson
            Plaintiffs,                    Hon. Mag. J. Elizabeth A. Stafford

v.

Hon. CHIEF JUDGE OF
MICHIGAN’S 36TH DISTRICT
COURT, in his official capacity as Chief
Judge of Michigan’s 36th District Court;
Magistrates of Michigan’s 36th District
Court, in their official capacity as
Magistrates of Michigan’s 36th District
Court;WAYNE COUNTY SHERIFF, in his
official capacity as Sheriff of Wayne
County, Michigan,

          Defendants.
_______________________________/

             FIRST AMENDED CLASS ACTION COMPLAINT
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.801 Filed 07/11/22 Page 2 of 66




                        INTRODUCTORY STATEMENT1

      1.     Poor people in Detroit are routinely jailed because they cannot afford

bail. Meanwhile, similarly situated individuals who can afford bail are routinely

released. This unnecessary, unconstitutional, and costly discrimination against

indigent people accused of crimes in Detroit is the result of the 36th District

Court’s policy and practice of making no inquiry whatsoever into an arrestee’s

ability to pay before imposing bail requirements. These impossible cash bail terms

operate as de facto orders of pretrial detention, yet the 36th District Court sets them

without any of the findings or procedures that the Constitution requires before a

court is permitted to order a presumptively innocent person to be detained prior to

trial. The constitutional requirements include an express individualized finding on

the record that detention is the only possible option to address the person’s risk of

flight or danger to others.       This finding must be made after a meaningful

individualized inquiry into: (A) whether the arrestee in question poses an

unmanageable flight risk or danger to the community if released before trial, and

(B) whether non-financial release conditions could adequately address any such

risks or dangers.




1
 Under the relation-back doctrine, allegations in this amended complaint use
present tense to refer to facts that Plaintiffs allege were true at the time of filing.


                                            1
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.802 Filed 07/11/22 Page 3 of 66




      2.     In the City of Detroit, bail is first set at an arrestee’s arraignment.

Magistrates preside at these arraignments.         They impose secured cash bail

conditions 2 in the majority of cases, and it is their policy and practice not to inform

the arrestee that her ability to pay is relevant to the bail determination, let alone to

accept evidence or make findings relating to the arrestee’s ability to pay. When

imposing bail conditions, the Magistrates usually simply refer, in boilerplate

fashion, to the nature of the alleged offense and the arrestee’s criminal history.

      3.     Arrestees who can afford to pay bail are routinely released from

custody upon payment. Arrestees who are otherwise identical, but are too poor to

purchase their release, remain in jail because of their indigency. On any given

night, hundreds of people arrested in Detroit remain in custody in Wayne County

jails before trial—and the vast majority are there only because they cannot afford

to purchase their release. These individuals risk losing their jobs, homes, custody

of their children, health care, and other life necessities as a result of this wealth-

based detention. Many plead guilty before trial simply to minimize these harms.

      4.     The named Plaintiffs in this case have all been detained since their

arrests and remain in jail because they cannot afford the bail set in their cases.

They participated in summary arraignments in the 36th District Court that many of

2
  In this complaint, the term “secured cash bail conditions” means bail conditions
that can be satisfied only by the arrestee paying money (or causing it to be paid by
someone else) either directly to the government or to a bail bondsman who, in turn,
provides a surety to the government.

                                           2
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.803 Filed 07/11/22 Page 4 of 66




them could barely understand at which magistrates did not ask them any questions

about their income, expenses, or ability to pay before setting their bail amounts.

None were provided with court-appointed attorneys, and all therefore appeared at

their arraignment without counsel. For each day they remain in jail, Plaintiffs risk

losing their jobs, their homes, their health, and their ability to support and take care

of their children and other loved ones, among other harms.

      5.     On behalf of the many other arrestees subjected to the 36th District

Court’s unlawful and ongoing pre-trial detention scheme, Plaintiffs challenge the

routine use of secured cash bail to disproportionately detain indigent individuals

arrested in the City of Detroit, which occurs without a hearing at which an

arrestee’s ability to pay is considered and without the presence of a lawyer to

represent the arrestee. This wealth-based pretrial detention system violates the

Equal Protection and Due Process Clauses of the United States Constitution, as

well as the Sixth Amendment guarantee of the right to counsel, as courts around

the country have held in analogous situations.

      6.     By and through their attorneys and on behalf of themselves and all

others similarly situated, Plaintiffs seek injunctive and declaratory relief on behalf

of the class they seek to represent addressing the 36th District Court’s policy and

practice of imposing secured cash bail conditions without a hearing at which an

arrestee’s ability to pay is considered as required by the Fourteenth Amendment,


                                           3
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.804 Filed 07/11/22 Page 5 of 66




and without constitutionally required individualized findings that the arrestee is an

unmanageable flight risk or an identifiable and articulable danger to the

community and that such risks cannot be alleviated by alternate non-financial

release conditions. Plaintiffs also seek a permanent injunction on behalf of the

class they seek to represent prohibiting the Wayne County Sheriff from holding

new pre-trial detainees in jail unless constitutionally adequate bail hearings have

occurred. And Plaintiffs seek compensatory damages as individuals and on behalf

of themselves only.

                            JURISDICTION AND VENUE

      7.     This is a civil rights action arising under 42 U.S.C. § 1983, 28 U.S.C.

§ 2201 et seq., and the Fourteenth Amendment to the United States Constitution.

This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal question

jurisdiction) and 1343 (civil rights jurisdiction).

      8.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391, because

Wayne County, the 36th District Court, and the City of Detroit are all located

within the district, and a substantial part (if not all) of the events giving rise to the

Plaintiffs’ claims occurred or will occur in this district.

                                       PARTIES

      9.     Plaintiff Davontae Ross is a resident of the City of Detroit and Wayne

County. He brings this suit on behalf of himself as an individual and on behalf of a


                                            4
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.805 Filed 07/11/22 Page 6 of 66




class of similarly situated people subjected to Defendants’ wealth-based post-arrest

detention scheme. He cannot afford to pay the cash bail imposed in his case, and

he cannot afford counsel.

      10.    Plaintiff Timothy Lucas is a resident of the City of Detroit and Wayne

County. He brings this suit both on behalf of himself as an individual and on

behalf of a class of similarly situated people subjected to Defendants’ wealth-based

post-arrest detention scheme. He cannot afford to pay the cash bail imposed in his

case, and he cannot afford counsel.

      11.    Plaintiff Starmanie Jackson is a resident of the City of Detroit and

Wayne County. She brings this suit both on behalf of herself as an individual and

on behalf of a class of similarly situated people subjected to Defendants’ wealth-

based post-arrest detention scheme.     She cannot afford to pay the cash bail

imposed in her case, and she cannot afford counsel.

      12.    Plaintiff Kushawn Moore, Jr., is a resident of the City of Detroit and

Wayne County. He brings this suit both on behalf of himself as an individual and

on behalf of a class of similarly situated people subjected to Defendants’ wealth-

based post-arrest detention scheme. He cannot afford to pay the cash bail imposed

in his case, and he cannot afford counsel. Mr. Moore is seventeen-and-one-half

years old. He brings this action through his father and next friend, Kushawn

Moore, Sr.


                                         5
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.806 Filed 07/11/22 Page 7 of 66




      13.    Plaintiff Asia Dixon is a resident of the City of Detroit and Wayne

County. She brings this suit both on behalf of herself as an individual and on

behalf of a class of similarly situated people subjected to Defendants’ wealth-based

post-arrest detention scheme. She cannot afford to pay the case bail imposed in her

case, and she cannot afford counsel.

      14.    Plaintiff Keith Wilson is a resident of the City of Detroit and Wayne

County. He brings this suit both on behalf of himself as an individual and on

behalf of a class of similarly situated people subjected to Defendants’ wealth-based

post-arrest detention scheme. He cannot afford to pay the cash bail imposed in his

case, and he cannot afford counsel.

      15.    Plaintiff Katrina Gardner is a resident of the City of Detroit and

Wayne County. She brings this suit both on behalf of herself as an individual and

on behalf of a class of similarly situated people subjected to Defendants’ wealth-

based post-arrest detention scheme.      She cannot afford to pay the cash bail

imposed in her case, and she cannot afford counsel.

      16.    Defendant Benny N. Napoleon (“the Sheriff”) is the elected Sheriff of

Wayne County. He is responsible for the operation and administration of all three

jails in Wayne County where Detroit arrestees are held after arraignment by the

36th District Court. He is sued by the Plaintiffs on behalf of the class they seek to

represent for injunctive and declaratory relief in his official capacity as Sheriff of


                                          6
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.807 Filed 07/11/22 Page 8 of 66




Wayne County. He is also sued for damages in his official capacity by the

individual plaintiffs.

      17.    Defendants Bari Blake Wood, Millicent D. Sherman, Laura A.

Echartea, Dawn White, and Jeffrey Kleparek (collectively, “the Magistrate

Defendants”) are the five Magistrates employed at the 36th District Court.

Defendant Wood is the Chief Magistrate, and has partial responsibility for

administering the actions of the other magistrates and for reviewing their

performance.     The Magistrate Defendants are responsible, inter alia, for

conducting the arraignments at which bail is initially set for individuals who are

subject to the 36th District Court’s jurisdiction and who are detained at the time of

their arraignment. Their bail determinations set the conditions for detention in

Wayne County jails pending the arrestees’ next court appearance.             The next

appearance is always scheduled for at least a week after arraignment, and as a

result, indigent arrestees such as Plaintiffs have no viable way to have their bail

conditions redetermined between arraignment and their first counseled hearing.

The Magistrate Defendants are sued by the Plaintiffs on behalf of the class they

seek to represent for injunctive and declaratory relief in their official administrative

capacities for having developed and implemented the arraignment policies and

practices described herein. In the alternative, they are sued by the Plaintiffs on

behalf of the class they seek to represent in their judicial capacity for declaratory


                                           7
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.808 Filed 07/11/22 Page 9 of 66




relief only. They are also sued for damages in their official capacity by the

individual plaintiffs.

        18.   Defendant Nancy M. Blount is the Chief Judge of the 36th District

Court. She is responsible generally for the administration of the 36th District

Court, including hiring, firing, and overseeing Magistrates on behalf of the 36th

District Court. The Chief Judge has full authority and control over the court’s

administration, subject only to the control of the Michigan Supreme Court. She is

sued for injunctive and declaratory relief by the Plaintiffs on behalf of the class

they seek to represent in her official administrative capacity as the supervisory

official with the authority to alter the policies and practices of the Magistrate

Defendants at arraignments. In the alternative, she is sued by the Plaintiffs on

behalf of the class they seek to represent in her judicial capacity for declaratory

relief only. The Chief Judge is also sued for damages in their official capacity by

the individual plaintiffs.

                             FACTUAL ALLEGATIONS

        A.    The Named Plaintiffs Are Being Held in Jail Solely Because They
              Are Unable to Pay for Their Release.

        19.   Plaintiff Davontae Ross is a 24-year-old Black man. He was arrested

on April 11, 2019 outside of his apartment for failing to appear at a hearing in 2014

regarding a misdemeanor ticket he had received in 2014 for staying in a park after

dark.

                                         8
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.809 Filed 07/11/22 Page 10 of 66




       20.    Mr. Ross was taken to the Detroit Detention Center (“DDC”) on April

11, 2019. He was arraigned via videoconference the next morning. He did not

have an attorney at the arraignment, and he cannot afford to hire one.          His

arraignment was conducted quickly. The magistrate told him that his bail was

$200 cash/surety. The magistrate did not ask him if he could afford to pay that

amount and did not provide him with any reason for why his bail was set at that

amount. The magistrate told Mr. Ross that he would have to stay in jail until his

next court date—a full two weeks later—if he did not have $200 for his bail. Mr.

Ross cannot afford to pay his bail and he therefore remains in detention because of

his five-year-old ticket.

       21.    Plaintiff Timothy Lucas is a 65-year-old Black man who suffers from

several serious health conditions, including epileptic seizures, hypertension, and

asthma.      He has no source of income other than disability payments of

approximately $800/month. He was arrested on April 9, 2019, for assault and

battery, a misdemeanor. He has no prior criminal convictions. He was taken to

DDC.

       22.    Mr. Lucas was arraigned via videoconference on April 12, 2019,

approximately 72 hours after his arrest. He did not have an attorney for the

proceeding, and he cannot afford to hire one.         Speaking very quickly, the

magistrate read the charge against him, explained the penalty he faced if convicted,


                                         9
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.810 Filed 07/11/22 Page 11 of 66




and set his bail at $3,500/10%. The only question she asked Mr. Lucas was

whether he understood what she said, and Mr. Lucas was not given an opportunity

to ask questions of the court despite wishing to do so. She did not ask Mr. Lucas

any questions about his income, his expenses, or his ability to afford the bail

amount set. Nor did the magistrate provide any explanation as to why she set bail

at that amount. Mr. Lucas received no paperwork after the arraignment.

      23.    Mr. Lucas cannot afford to pay the bail amount set in his case. He

therefore remains in detention, where he has not received his medication in a

timely or sufficient manner, despite numerous requests.

      24.    Plaintiff Starmanie Jackson is a 24-year-old single Black mother and

sole caregiver of a five-year-old and a three-year-old. She is a certified nursing

assistant. She was arrested on April 8, 2019 for a felony assault charge. She was

eventually taken to DDC.       While there, no one told her anything about the

possibility of posting bail, and her family was unable to get in touch with her for

two days.

      25.    Ms. Jackson was arraigned for failing to appear for court appearances

relating to traffic tickets via videoconference on April 9, 2019. She did not have

an attorney for the proceeding, and could not afford to hire one. The magistrate

told Ms. Jackson about the traffic tickets, that her bail was set at $200, and the date

of her next court hearing. The magistrate did not ask Ms. Jackson any questions


                                          10
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.811 Filed 07/11/22 Page 12 of 66




about her ability to afford the bail amount. Nor did the magistrate allow Ms.

Jackson to ask any questions during her arraignment.

      26.    The next day on April 10, 2019, Ms. Jackson was arraigned via

videoconference by a different magistrate for the felony charge. She still did not

have an attorney for the proceeding. The magistrate conducted the arraignment

quickly, telling her the charges against her, that her bail amount was set at $500,

and the date of her next court hearing. The magistrate did not ask her any

questions about her ability to afford the bail amount, explain why it was set at

$500, acknowledge that Ms. Jackson was already being held on a $200 bail that

she could not afford, or allow Ms. Jackson to ask any questions.

      27.    Ms. Jackson cannot afford to pay the $700 combined bail. She is the

sole provider for her young children, and sometimes cannot even afford her normal

monthly expenses. Since being arrested, she has missed the first day of her new

job at a nursing home, which would have been her primary source of income. Ms.

Jackson remains in detention, and has lost approximately 30 pounds in her five

days of detention.

      28.    Plaintiff Kushawn Moore, Jr., is 17-and-one-half-years-old Black

youth. He has lived in Detroit his entire life, and is currently enrolled in eleventh

grade at Ace Academy, a local high school. He has a 2.9 GPA, and expects to

graduate in 2020. He was arrested on April 10, 2019 for armed robbery, a felony.


                                         11
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.812 Filed 07/11/22 Page 13 of 66




He has no prior criminal history. That same day at approximately 8:00 p.m., he

arrived at DDC. He told officers that he was only 17 years old, but they did not

believe him, called him names, and handcuffed him to a bench. No one told him

what would occur next.

      29.    The next day, he was arraigned via videoconference. He did not have

an attorney for the proceeding and could not afford one. The only question the

magistrate asked him was his name. She did not ask him any questions about his

ability to afford bail. She then proceeded to talk so quickly that he could not

understand anything she said, except that his bail was set at $50,000, without a

10% option. The magistrate did not provide any explanation for why his bail was

set at this amount. His entire arraignment lasted approximately one minute and

thirty seconds.

      30.    Neither Mr. Moore nor his parents can afford to pay $50,000 bail. He

therefore remains in detention.

      31.    Plaintiff Asia Dixon is a 20-year-old Black woman. She was arrested

near her home on April 10, 2019 for assault with a dangerous weapon. She was

taken to DDC.

      32.    On the third day of her incarceration, Ms. Dixon was told that she

would see a magistrate. She was arraigned via videoconference later that day. The

magistrate spoke so quickly that Ms. Dixon could barely understand what was


                                       12
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.813 Filed 07/11/22 Page 14 of 66




being said. She was not allowed to ask any questions during her arraignment. The

only way she was able to determine that her bail was $10,000/10% was by asking a

DDC guard afterwards. The magistrate did not provide any reasons for why her

bail was set at that amount.

      33.    Ms. Dixon did not have an attorney representing her during the

proceeding and she cannot afford to hire a private attorney.

      34.    Ms. Dixon cannot afford to pay $1,000 and therefore remains in

detention. She has already missed the first day of a new job, and is likely to lose

an additional job opportunity if she is not released by April 15.

      35.    Plaintiff Keith Wilson is a 66-year-old Black man. He was arrested

on April 11, 2019 for assault with intent to do great bodily harm, a felony. He was

taken to DDC.

      36.    On April 12, 2019, Mr. Wilson was taken to a large holding cell to

wait to be arraigned. Before it was his turn, the guard told him to stand behind a

line on the floor and just listen to the magistrate. Mr. Wilson was then arraigned

via videoconference. During the arraignment, the magistrate was talking fast and

he could only understand some of what was being said. He felt that he could not

say anything at all during the proceeding.

      37.    The magistrate told Mr. Wilson that his bail was $25,000/10% but did

not ask him if he could afford that amount. The magistrate did not ask him about


                                         13
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.814 Filed 07/11/22 Page 15 of 66




his income or his expenses. She also did not provide him with any reasons for why

she set the bail at that amount.

      38.      Mr. Wilson did not have an attorney representing him during his

arraignment and he cannot afford to hire a private attorney.

      39.      Mr. Wilson cannot afford to pay his $25,000/10% bail and therefore

remains in detention.

      40.      Plaintiff Katrina Gardner is a 26-year-old Black woman. She was

arrested on April 10, 2019 for assault. She was taken to DDC.

      41.      Ms. Gardner was arraigned on April 12, 2019 via videoconference.

She could not understand what the magistrate was saying. The magistrate was

speaking so quickly that all she heard was numbers. Ms. Gardner asked the

magistrate what her bail amount was and the magistrate told her that the guard

would tell her. The magistrate did not provide any reasons for the bail amount that

was set. The magistrate did not ask Ms. Gardner any questions about her income

or expenses.

      42.      After the videoconference ended Ms. Gardner asked the guard what

her bail amount was and was told it was $630.

      43.      There was no attorney representing Ms. Gardner during her

arraignment and she cannot afford to hire a private attorney.




                                         14
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.815 Filed 07/11/22 Page 16 of 66




      44.    Ms. Gardner cannot afford to pay her bail and she therefore remains in

detention.

      B.     Defendants’ Arraignment Policies and Practices Constitute a
             Wealth-Based Detention System That Keeps People in Jail for the
             Sole Reason that They Cannot Afford Bail.

      45.    The Magistrate Defendants routinely impose secured cash bail

conditions on the arrestees who appear before them for arraignment without

justification. Secured cash bail conditions vary in amount and details, but all share

the common trait of requiring the arrestee to pay money, either directly to the

government or in the form of fees paid to a professional surety such as a bail

bondsperson, to secure the arrestee’s release from jail. Typically, such conditions

take one of two forms: (1) a “10%” bail condition, which requires the arrestee to

post at least 10% of the total bail amount in cash or real property as a security or

else to have a surety, such as a professional bondsman, execute a bond for one-

fourth of the total bail amount—a service for which most bondsmen charge 10% of

the amount they have to guarantee; or (2) a full cash bail condition, which requires

the arrestee to pay, or the professional surety to execute a bond for, the entire bail

amount—a service for which most bondsman charge 10% of the full bail amount.

Either option requires out-of-pocket financial expenditure by the arrestee, either in

the form of money paid directly to the government or else money paid to a

bondsman as a non-refundable fee.


                                         15
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.816 Filed 07/11/22 Page 17 of 66




      46.     Yet, as detailed below, the policy and practice of the 36th District

Court is that the Magistrate Defendants offer no opportunity for an arrestee’s

indigency to be considered at the arraignment. As a result, indigent arrestees in

Detroit are routinely detained after their arraignment without any consideration of

whether they can afford to pay cash bail. Instead, secured cash bail conditions are

imposed without any individualized consideration of, or constitutionally required

findings regarding, the person’s interest in pre-trial liberty, whether the person

poses an unmanageable risk of flight or identified and articulable danger to the

community, and whether non-financial conditions could adequately protect against

such risks.

              i. Prior to Arraignment, Indigent Arrestees Have No Way to Be
                 Released from Detention.

      47.     The Detroit Police Department (“DPD”) operates the DDC in

partnership with the Michigan Department of Corrections (“MDOC”). The DDC

serves as a consolidated lock-up facility for almost all detained pre-trial arrestees

in the City of Detroit during the first 72 hours of detention.

      48.     When a state district or circuit court judge issues an arrest warrant, the

judge may, for most misdemeanors and city ordinance violations, provide for an

interim secured cash bail of a specified amount. If the judge specifies interim bail

on the warrant, an arrestee can purchase their release prior to arraignment by

paying the specified amount. Because warrants are issued ex parte, an individual

                                          16
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.817 Filed 07/11/22 Page 18 of 66




against whom a warrant is issued has no chance to assert her indigency as a factor

in the setting of interim bail.

      49.    When a defendant is arrested without a warrant for allegedly

committing a misdemeanor or violating a city ordinance that is punishable by not

more than one year of imprisonment, the arrestee is transported to the DDC.

There, she is detained until her arraignment unless she is offered and able to meet

interim bail.    By statute, an interim bond for warrantless arrests under this

procedure may be offered at the DDC for the minor offenses described above, but

must be in the amount of at least 20% of the minimum possible fine that can be

imposed upon conviction. In implementing interim bond, DDC follows a bond

schedule under which:         people accused of misdemeanors punishable by a

maximum of 90 days of confinement cannot be released unless they pay a $100

bond; people accused of misdemeanors punishable by a maximum of 93 days of

confinement cannot be released unless they pay a $250 bond; and people accused

of drunk-driving related offenses cannot be released unless they pay a $500 bond.

      50.    Arrestees charged with a felony or with a misdemeanor punishable by

more than one year of imprisonment are ineligible by statute to be released on an

interim bond and will typically remain detained at the DDC until their arraignment.

      51.    Detainees who are not offered interim bond, who are unable to pay

interim bond, or who are ineligible for interim bond remain detained at the DDC


                                        17
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.818 Filed 07/11/22 Page 19 of 66




until their arraignment. Arraignments typically occur within approximately 48

hours of arrest on weekdays, but can take longer.

             ii. Arraignments Before Magistrates Are Not Hearings at Which
                 Arrestees’ Indigency Is Considered.

      52.    The Magistrate Defendants preside over arraignments at the 36th

District Court.   Arraignments are conducted every weekday in morning and

afternoon sessions.   Morning sessions typically focus on traffic offenses and

misdemeanors; afternoon sessions typically focus on felonies.            Magistrate

Defendants preside over the arraignments based upon a revolving schedule that is

determined administratively at the 36th District Court. On a typical day, one

Magistrate Defendant will preside over the morning docket, and another will

preside over the afternoon docket. Each docket will usually include a few dozen

arrestees.

      53.    The vast majority of arraignments are conducted by video

teleconference between a 36th District courtroom in downtown Detroit and the

DDC. 3 Arrestees are gathered together in a room at the DDC by guards. Before

the arraignment or the video teleconference begins, DDC guards typically give


3
  A few arraignments may also be conducted by video teleconference with one of
the Wayne County Jails or a DPD detention room. A few arraignments are also
conducted in person in situations where an individual has turned herself in at the
courthouse on an outstanding warrant. These arraignments are conducted in the
same fashion in all material ways as the ones described in the remainder of this
section.

                                        18
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.819 Filed 07/11/22 Page 20 of 66




instructions to the arrestees, off camera, about what will occur during the

arraignment. These instructions have included admonitions that the purpose of the

arraignment is to enter a not guilty plea, that arrestees are not to explain their

situation to the judge, and that they should not do anything other answer the

judge’s questions “yes” or “no.” Then the arraignments begin, with each arrestee

stepping in front of a video camera when instructed to do so by a jail guard. In the

background behind the arrestee is a banner with the words “Detroit Detention

Center” and the seal of Michigan.

      54.   The arraignments are summary affairs. A typical arrestee spends

approximately two to four minutes on camera—the vast majority of which is spent

having information read to her. In that time, the Magistrate Defendants often

speak so rapidly that it is difficult, even for legally-sophisticated arrestees, to

understand what is being said or to fully grasp much of what is happening. As

required by Michigan Court Rule 6.104(E)(1), a Magistrate Defendant reads each

of the charges against the arrestee and states the maximum possible jail sentence

that could be imposed for each charge. As required by Michigan Court Rule

6.104(E)(2), the Magistrate Defendant also reads the arrestee some of her rights,

including the right to remain silent, the right to counsel, and the right to have a

court-appointed attorney if she is unable to afford one.          However, absent

extraordinary circumstances, no court appointed attorney is provided for arrestees


                                        19
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.820 Filed 07/11/22 Page 21 of 66




at the arraignment, and the overwhelming majority of arrestees appear at

arraignment without counsel.

       55.    During the typical arraignment, the Magistrate Defendant allows the

arrestee to speak on only three occasions. First, she is asked to state her name.

Second, after the charges are read, the arrestee is asked if she understands them

and the possible sentence. Third, after the rapid-fire reading of rights, the arrestee

is asked if she understands those rights. If the arrestee states that she does not

understand the charges or her rights, the Magistrate Defendant will often simply

repeat the charges or rights again using the exact same language but speaking a bit

slower and in a louder (and often more exasperated) tone.

       56.    If the arrestee is charged with a new felony (or felonies), the

Magistrate Defendant sets a date for the next two appearances in court: a probable

cause conference followed by a preliminary examination.          By court rule, the

probable cause conference must be set “not less than 7 days or more than 14 days

after the date of the arraignment”; the preliminary examination must be scheduled

“not less than 5 days or more than 7 days after the date of the probable cause

conference.” In practice, the probable cause conference is typically set for a date

eight to ten days after the arraignment, with the preliminary examination occurring

five or six days later.




                                         20
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.821 Filed 07/11/22 Page 22 of 66




      57.      If the arrestee is charged with a new misdemeanor (or misdemeanors),

the Magistrate Defendant sometimes schedules only the first pre-trial hearing, but

the same timeline applies: the first hearing is set for seven to fourteen days from

the date of arraignment, and most often is scheduled eight to ten days after

arraignment.

      58.      The Magistrate Defendants then proceed to set secured cash bail

conditions and other non-financial conditions that must be satisfied if the arrestee

is to be released prior to the probable cause conference.

      59.      The bail-setting phase of the arraignment typically lasts approximately

30 to 60 seconds. The Magistrate Defendants do not advise the arrestee that she

has the right to have her ability to pay considered as part of the bail determination.

They do not ask the arrestee if she has financial resources to pay for her release.

And they do not provide any opportunity for the arrestee to offer evidence or

proffers of evidence regarding her ability or inability to pay secured cash bail

conditions.

      60.      The Magistrate Defendants also do not ask the arrestees any questions

that might help to determine whether the individual poses an identifiable and

articulable danger to the community or an unmanageable flight risk, other than by

noting whether the arrestee has holds from another jurisdiction. Neither do the

Magistrate Defendants ask any questions about (or discuss) whether non-financial


                                          21
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.822 Filed 07/11/22 Page 23 of 66




conditions could suffice to assure the arrestee’s attendance at hearings in her case.

Nor do they inquire as to the details of why an arrestee who may have missed court

hearings in other cases may have done so.

      61.    In fact, arrestees are discouraged from responding or participating in

any way during the bail-setting part of the arraignment, and they are not even

asked any “yes/no” questions in the vast majority of cases.

      62.    In announcing the secured cash bail considerations, the Magistrate

Defendants do not refer to any individualized findings regarding the relationship

between the arrestee’s ability to pay and any possible risk of flight or danger to the

community. Instead, they simply repeat formulaic statements such as “based on

the charges on their face and your prior criminal record, I set bail at $XXX.” In

some cases, the Magistrate Defendants may also recite some of the alleged facts of

the alleged crime or note that the arrestee has a “hold” from another jurisdiction.

But even when these factors are noted, the specific evidence in support of the

allegations or hold are not discussed or analyzed, nor is there any opportunity to

challenge the allegations or their relevance to the court’s bail determination. In

any event, ability or inability to pay is never invoked by the Magistrate Defendants

as a consideration.

      63.    In addition, the Magistrate Defendants often impose additional

conditions, such as a prohibition on possessing a firearm while on release or a


                                         22
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.823 Filed 07/11/22 Page 24 of 66




prohibition on contacting an alleged victim.      Typically, these conditions are

imposed in the same manner as the secured cash bail conditions: without asking

any questions of the arrestee, and based only on the nature of the alleged offense

and the arrestee’s criminal history.

      64.    The process described above works slightly differently for arrestees

who are not being charged with new felonies or misdemeanors, but who have

instead been arrested because of a failure to appear at a hearing in another matter

(almost always a minor misdemeanor such as driving without a license or

insurance), or for failure to complete payment in a prior misdemeanor matter. In

such cases, the district judge who presided at the missed hearing (or in which

payment was not completed) will have already issued a bench warrant as a result of

the arrestee’s non-appearance and will have dictated the associated secured cash

bail. Such bench warrants are generally issued automatically and do not take into

account the individual’s ability to pay.

      65.    When arraigning arrestees under these circumstances, the Magistrate

Defendants will advise the arrestee that the Magistrate has no authority at all to

alter the secured cash bail conditions imposed by the district judge who issued the

warrant. The result is the automatic imposition of secured cash bail conditions,

sometimes amounting to thousands of dollars, without any opportunity for




                                           23
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.824 Filed 07/11/22 Page 25 of 66




reconsideration. In such cases, the first hearing is sometimes set as much as a

month after arraignment.

      66.    For example, on March 5, 2019, an arrestee was arraigned for failing

to pay a ticket for driving without a license and failing to appear for a review

hearing on the same ticket. When the arrestee indicated that he had missed the

review hearing in question because he was detained in a county jail at the time, he

was informed that the secured cash bond of $345 could not be changed and was

given a review hearing on April 2, 2019, 28 days later. Another arrestee arraigned

on the same day claimed to have missed a prior hearing on a gambling and

trespassing offense because the district judge’s clerk had failed to reschedule the

hearing despite agreeing to do so. Magistrate Kleparek informed the arrestee that

although the arrestee’s story was credible, he had no power to reconsider the

$1,000 cash/surety imposed by the district judge’s warrant—even though the

arrestee had voluntarily turned himself in to attempt to remedy the outstanding

warrant. That arrestee was given a pretrial hearing on March 12, 2019.

      67.    Once the Magistrate Defendants have announced the bail conditions,

they instruct the arrestee to step away from the camera. If the arrestee seeks to ask

a question, the Magistrate Defendants typically interrupt the arrestee with a

warning that anything she says can and will be used against her in a court of law.

In issuing such a warning, the Magistrate Defendants typically do not first inquire


                                         24
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.825 Filed 07/11/22 Page 26 of 66




whether the individual’s question pertains to the underlying criminal allegations or

to the court’s bail determination. In one instance on March 18, 2019, Magistrate

Sherman told an arrestee who attempted to raise a question that “now is not the

time to ask questions.” Sometimes, DDC guards can be heard over the video

audibly “shushing” an arrestee or otherwise instructing them not to speak further

with the Magistrate, even when the arrestee attempts to ask questions about their

particular bail situation. Predictably, many individuals who are bold enough to

interpose questions in the first place do not proceed with their questions after such

an admonition.

      68.      Because other arrestees are in the same room at the DDC while

awaiting their own turn in front of the camera, all arrestees see what happens when

another arrestee seeks to speak up at the arraignment.

      69.      When an arrestee nonetheless persists in asking a question, the

response is often to inform the arrestee that she should raise her question with her

attorney.   But indigent arrestees do not have attorneys at the time of the

arraignment.

      70.      In at least some instances, the Magistrate Defendants possess a report

prepared by an employee from the 36th District Court’s Pre-Trial Services Unit.

The pre-trial services reports may recommend a cash bail condition of a particular

amount, but these reports do not make findings about the arrestee’s ability to pay,


                                          25
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.826 Filed 07/11/22 Page 27 of 66




and do not consider the ability to pay as a factor to be considered in recommending

a bail amount. Arrestees are not provided with a copy of the pre-trial services

report at the arraignment and in many cases have no way to even know that the

judge is referring to such a report at all. In any event, the arrestee is typically not

given any of the information (other than the nature of the charges and criminal

history) that is contained in the report, and they are not given a chance to rebut any

information in the report.

      71.     After being told to step away from the camera, some arrestees can be

heard over the video feed speaking with the guards or other arrestees. Some

arrestees have commented that they do not understand what just happened; some

ask the DDC guards what the bail decision means for them; some even laugh or

otherwise verbally indicate the impossibility of satisfying the secured cash bail

conditions that have just been imposed, e.g., by stating that they will lose their jobs

because of the amount of bail that was just imposed. Although such reactions are

plainly audible in the courtroom, they do not prompt the Magistrate Defendants to

ask that the detainee return to the camera for further discussion.

      72.     Thus, as a matter of policy and practice, the Magistrate Defendants

make no attempt to determine an arrestee’s financial situation, and they make no

inquiry into or findings about each arrestee’s ability to satisfy secured cash bail

conditions.


                                          26
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.827 Filed 07/11/22 Page 28 of 66




         73.   As a matter of policy and practice, Magistrate Defendants do not

advise arrestees of their right to pretrial liberty or to have their ability to pay

considered when setting bail conditions. Similarly, as a matter of policy and

practice, the Magistrate Defendants do not advise arrestees that they have a right to

have non-financial bail conditions considered as a (preferred) alternative to secured

cash conditions. Thus, as a matter of policy and practice, arrestees are routinely

prevented and discouraged from presenting arguments and evidence that would be

vital to a proper and lawful bail determination.

         74.   The results are troubling. For example, during the week of April 1–5,

attorney court watchers observed every arraignment conducted at the 36th District

Court. There were 252 arraignments of individuals who did not have attorneys.

Not a single one of these individuals was asked whether they could afford to pay

bail.    The court watchers were unable to determine the disposition in two

arraignments, and two arraignments resulted in detention without bail. Of the

remaining 248, some form of cash bail was imposed in 212 cases—85.5% of the

total.

         75.   For years, these policies have consistently resulted in the lengthy,

needless, and devastating jailing of indigent individuals. Other arrestees with

financial means were able to pay their predetermined money bail and secure their

release.


                                         27
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.828 Filed 07/11/22 Page 29 of 66




      76.    The remainder of this Complaint refers to the policies and practices of

the 36th District Court, as described in this section, as the Court’s “Arraignment

Policies and Practices.”

             iii. Most Arrestees Cannot Afford Lawyers, But Arrestees Who
                  Can and Do Retain Private Counsel Receive More Favorable
                  Treatment at Arraignment.

      77.    As stated above, indigent arrestees at the time of arraignment have not

yet been assigned court-appointed counsel, absent extraordinary circumstances

such as obvious evidence of potential incompetence to stand trial.

      78.    The 36th District Court does not publicly disclose the percentage of

defendants who are ultimately assigned court-appointed counsel, but in 2008, the

National Legal Aid & Defender Association estimated that 90% of criminal

defendants in the 36th District Court qualified as indigent for purposes of state-

appointed representation. 4

      79.    Detroit’s poverty rate in 2017, defined as the percentage of the

population living below the federally determined poverty line, was 34.5%. The

median household income for Detroit in 2017 was around $30,000, under half of

the nation-wide median household income. Accordingly, Detroit has an even



4
 See The National Legal Aid & Defender Association, A Race to the Bottom,
Speed & Savings Over Due Process: A Constitutional Crisis, at p. 27 (June 2008),
available at http://www.mynlada.org/michigan/michigan_report.pdf.


                                        28
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.829 Filed 07/11/22 Page 30 of 66




greater share of individuals who are unable to afford either secured cash bail

conditions or legal representation than most communities.

      80.    The Federal Reserve recently reported that approximately 40% of

adults in the United States are unable to pay a $400 emergency expense.5 The

percentage of Detroiters unable to afford such expenses is almost certainly higher.

      81.    The inability to afford secured cash bail conditions falls

disproportionately on communities of color. 6

      82.    For detainees who pay to retain counsel before arraignment, the

arraignment works differently.       For counseled defendants, the Magistrate

Defendants invite counsel to comment on bail, and counsel will sometimes raise

their client’s lack of financial resources as a basis for reducing or eliminating

secured cash bail conditions.     Thus, ironically, it is only detainees with the

resources to retain an attorney in the first place who are afforded an opportunity to


5
 Board of Governors of the Federal Reserve System, Report on the Economic
Well-Being of U.S. Households in 2017, May 2018, available at
https://www.federalreserve.gov/publications/files/2017-report-economic-well-
being-us-households-201805.pdf.
6
  See, e.g., Ex. A, David Arnold, Will Dobbie, & Cynthia Yang, Racial Bias in Bail
Decisions, 133 Quarterly Journal of Economics 1885 (2018), available at
https://www.princeton.edu/~wdobbie/files/racialbias.pdf; see also Cynthia Jones &
Nancy Gist, Decision Points: Disproportionate Pretrial Detention of Blacks and
Latinos Drives Mass Incarceration, Huffington Post (Nov. 11, 2016) (summarizing
and multiple studies and data sources), available at https://www.huffpost.com/
entry/pretrial-detention-blacks-and-latinos_b_8537602?utm_hp_ref=criminal-
justice.

                                         29
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.830 Filed 07/11/22 Page 31 of 66




have their indigency considered as a bail factor at the arraignment. Despite the fact

that the Magistrate Defendants are aware that inability to pay is regularly raised

even by detainees who can afford counsel, these Defendants continue their policy

and practice of not inquiring into the ability of unrepresented detainees to satisfy

secured cash bail conditions.

      83.    The difference counsel makes is well illustrated by an arraignment

that occurred on April 3, 2019, in which the arrestee was initially arraigned before

Magistrate Echartea without counsel, resulting in a $15,000/10% bond. Shortly

after the arraignment, a lawyer who was retained by the arrestee’s family arrived

on the arrestee’s behalf—a rarity in the 36th District Court. The attorney was

permitted to argue bond, and bond was reduced to $10,000/10%. Having a lawyer

matters.

      84.    In fact, on some occasions, the Magistrate Defendants may even treat

the presence of retained counsel as a factor in favor of reducing cash bail. For

example, on March 1, 2019, Chief Magistrate Wood suggested to a counseled

arrestee that the presence of retained counsel was a factor in favor of reduced cash

bail because “the Court believes [the arrestee] is taking this case seriously because

he’s retained counsel.”




                                         30
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.831 Filed 07/11/22 Page 32 of 66




             iv. After Arraignment, Arrestees Who Cannot Pay Their Bail
                 Conditions Are Detained in Wayne County Jails.

       85.   Shortly after an arrestee is arraigned by video at the DDC, the arrestee

is transferred to the custody of the Wayne County Sheriff’s office and is

transported to one of the three jails operated by the Sheriff (“the Wayne County

Jails”).

       86.   If an arrestee posts bail, the arrestee is usually released within 24

hours, sometimes significantly faster. Otherwise, she remains in one of the Wayne

County Jails until either she pays to be released or the criminal proceedings against

her are completed or dismissed.

       87.   The Wayne County Jails collectively house between 1,600 to 1,700

individuals every night.7 Approximately 62% of detainees in the Wayne County

Jails are pre-trial detainees,8 and around half of the pretrial detainees in the jails are

held on charges exclusively originating in the 36th District Court. Most pretrial

detainees, do not remain detained voluntarily but rather because they cannot afford

to purchase their pre-trial freedom.


7
 Hasan Dudar, Wayne County jail finally gets a new home in Detroit, Detroit Free
Press (March 7, 2018) (providing statistics from Sheriff Napoleon), available at,
https://www.freep.com/story/news/local/michigan/wayne/2018/03/07/wayne-
county-jail-detroit-michigan/402364002/
8
 Vera Institute of Justice, Wayne County, MI Incarceration Trends, data recent as
of 2015, available at http://trends.vera.org/rates/wayne-county-
mi?incarceration=count&incarcerationData=all

                                           31
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.832 Filed 07/11/22 Page 33 of 66




      88.    It costs approximately $165 per night to detain a person in the Wayne

County Jails.9 Thus, taxpayers are paying hundreds of thousands of dollars every

night to house pre-trial detainees in the Wayne County Jails.

      89.    Meanwhile, Wayne County has announced plans to build a new $533

million detention center that will increase the total number of jail beds in Wayne

County, even though the current capacity is far in excess of what would be needed

to detain the population that has actually been convicted of crimes in Detroit.

             v. The Magistrate Defendants Have the Legal Authority to
                Release Arrestees on Their Own Recognizance or Under Non-
                Financial Bail Conditions But Fail to Do So.

      90.    Under the Michigan Constitution, all arrestees are entitled to bail by

“sufficient sureties” except in four specific circumstances. The exceptions arise

only when the proof of guilt is “evident or the presumption great” and when the

person is charged with one of four categories of crimes: (1) murder or treason; (2)

violent felonies that were allegedly committed while the accused was on probation,

parole, or another form of release; (3) violent felonies in which the accused has

already been convicted of two or more other violent felonies arising out of separate

incidents in the past fifteen years; or (4) criminal sexual conduct in the first degree,



9
 Eric Lawrence, Wayne County Could Start Sending Inmates to Other Jails,
Detroit Free Press (July 29, 2015), available at
https://www.freep.com/story/news/local/michigan/wayne/2015/07/29/wayne-
county-inmates-jails/30859899/.

                                          32
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.833 Filed 07/11/22 Page 34 of 66




armed robbery, or kidnapping with an intent to extort. 10 Mich. Const. of 1963, art.

I, § 15; see also Mich. Ct. R. 6.106(B)(1).

      91.    For all other charges, Michigan Court Rule 6.106(C) requires that the

arrestee be released on her own recognizance, or on an unsecured appearance bond,

unless the court specifically determines that unsecured release on personal

recognizance will not reasonably ensure the arrestee’s appearance at future

hearings or will present a danger to the public.

      92.    Even when an arrestee is not eligible for release on her own

recognizance, Michigan Court Rules 6.106(D)–(E) require that the court next

consider imposing non-financial release conditions.              These non-financial

conditions may include requiring the arrestee to: (a) make reports to a court

agency as are specified by the court or the agency; (b) not use alcohol or illicitly

use any controlled substance; (c) participate in a substance abuse testing or

monitoring program; (d) participate in a specified treatment program for any

physical or mental condition, including substance abuse; (e) comply with

restrictions on personal associations, place of residence, place of employment, or

travel; (f) surrender a driver’s license or passport; (g) comply with a specified

curfew; (h) continue to seek employment; (i) continue or begin an educational

program; (j) remain in the custody of a responsible member of the community who

10
  Arrestees in the fourth category are still entitled to bail if there is clear and
convincing evidence that the defendant is not a flight risk or a danger to others.

                                          33
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.834 Filed 07/11/22 Page 35 of 66




agrees to monitor the defendant and report any violation of any release condition to

the court; (k) not possess a firearm or other dangerous weapon; (l) not enter

specified premises or areas and not assault, beat, molest or wound a named person

or persons; (m) comply with any condition limiting or prohibiting contact with any

other named person or persons.; (n) satisfy any injunctive order made a condition

of release; or (o) comply with any other condition that the court determines is

reasonably necessary to ensure the arrestee’s appearance and the safety of the

public.

      93.    Michigan Court Rules further provide that a court may impose

secured cash bail conditions only as a matter of last resort after determining, for

reasons stated on the record, that the arrestee’s appearance at future hearings or the

protection of the public cannot be ensured by the use of the numerous non-

financial release conditions that are at the court’s disposal. Mich. Ct. R. 6.106(E).

      94.    As a result, people arrested in Michigan for most offenses have a

liberty interest under state law in being released pending trial without secured cash

bail conditions, absent a specific individualized finding that such conditions are

necessary to protect the public or ensure attendance at future hearings.

      95.    But under the Arraignment Policies and Practices, the Magistrate

Defendants do not make any such findings, on the record or otherwise. Instead,

secured cash bail conditions are routinely and presumptively imposed for most


                                         34
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.835 Filed 07/11/22 Page 36 of 66




offenses without any consideration of whether other, non-financial, conditions

would suffice to ensure the arrestee’s appearance or protect the public. In almost

no instance does a Magistrate Defendant ever explain on the record how a cash bail

condition serves to further either of these two purposes in anything other than the

most generic, boilerplate fashion.

       96.   A mere 15% of arraigned arrestees are released without a secured cash

bail condition of some sort. And even this subset of arrestees are released as the

result only of the nature of the charges against them and their criminal histories,

not because the Magistrate Defendants conducted an inquiry into their ability to

pay.

       97.   The policies and practices described above are not simply a matter of

flawed individual adjudications, but rather represent an administrative decision and

policy by the 36th District Court to conduct arraignments that altogether deny

arrestees any hearing at all at which their ability to pay is considered or assessed

and weighed against the potential risks posed by their release. There are, to be

sure, minor differences between how the five Defendant Magistrates interact with

arrestees, but all follow the Arraignment Policies and Practices described above in

all but the most exceptional cases.

             vi. Indigent Detainees Have No Viable Opportunity to Have Their
                 Bail Reduced or Reconsidered for at Least One Week, Usually
                 Two, After Arraignment.


                                        35
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.836 Filed 07/11/22 Page 37 of 66




      98.    The imposition of secured cash bail conditions at the arraignment is

the moment of differential treatment: an arrestee with financial resources will pay

her bail (or pay a bail bondsman) and be released shortly after the arraignment,

while otherwise identical arrestees (such as Plaintiffs and those similarly situated)

who cannot afford their secured cash bail conditions will be detained for at least an

additional week—and likely much longer—as long as their bail remains unpaid.

      99.    In the 36th District Court, counsel appointments are not made until

after arraignment. Upon receiving an assignment, there is no viable procedure by

which court-appointed counsel can have her client’s bail conditions reconsidered

prior to the probable cause hearing, at least a week after arraignment.

      100. In fact, many court-appointed attorneys first meet their clients at the

probable cause hearing. In misdemeanor cases, indigent arrestees simply are not

assigned counsel until they actually arrive at their pre-trial hearing, and at that

hearing they are represented by the “house counsel,” i.e., by a defense attorney

who is appointed just for the day to temporarily represent all alleged

misdemeanants. In felony cases, arrestees are assigned individual attorneys, but

those assignments often are not received until a few days before the probable cause

hearing, and defense counsel are not always able to meet with their clients before

that hearing. For example, at least 25% of indigent felony cases in Wayne County

are assigned to the Metropolitan Justice Center of Southeast Michigan


                                         36
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.837 Filed 07/11/22 Page 38 of 66




(“MJCSM”). Because of resource constraints and docket pressure, attorneys at

MJCSM never meet with their clients prior to the probable cause hearing. And

individual assigned counsel are paid for appearing at the probable cause hearing,

but are not paid for any motions filed before the hearing.

      101. In the 36th District Court, District Judges preside at the probable

cause hearing.     At the hearing, an arrestee’s attorney is permitted to make

arguments to the judge seeking the modification of bail imposed at arraignment.

Prosecutors can, and sometimes do, request that bail be increased. If the arrestee

seeks a reduction of her secured cash bail conditions, the district judge will not

immediately act upon the request in the vast majority of cases. Instead, the district

judge will request that the Pre-Trial Services Unit prepare a report for

consideration at the next hearing, i.e., the preliminary examination that occurs

approximately a week later.

      102. As noted above, by court rule, the preliminary examination must be

scheduled five to seven days after the probable cause hearing. Accordingly, in

many cases, arrestees will not have an opportunity for a district judge to reconsider

the Magistrate Defendants’ initial bail determination until over two weeks after

their initial arraignment.11


 Although this lawsuit does not seek to directly address any bail hearings that may
11


eventually be conducted by the district judges, such hearings also are often
constitutionally suspect. The Pre-Trial Service Unit is empowered to recommend

                                         37
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.838 Filed 07/11/22 Page 39 of 66




   C. Chief Judge Blount Directs and Acquiesces to the Magistrate
      Defendants’ Policies and Practices.

      103. Chief Judge Blount is responsible for firing, hiring, and supervising

the Magistrate Defendants, who are at-will employees. She is also responsible for

issuing declarations stating what types of case work Magistrates in the 36th

District Court are authorized to do. She has a central role in formulating the

policies and practices that are followed by the Magistrate Defendants, and she is

the official who authorizes them to preside at arraignments. Chief Judge Blount

has served in that capacity since 2014. She is aware of the manner in which

arraignments are conducted and has the authority to instruct the Magistrate

Defendants to conduct the arraignments in a different manner such that arrestees’

indigency would be properly considered under constitutional standards.




reductions of secured cash bail conditions in some cases, but often fails to do so
even when the arrestee is clearly unable to afford bail and when there is no clear
and convincing individualized evidence that the arrestee presents an unmanageable
flight risk or identifiable and articulable danger to the community. And even when
the Pre-Trial Services Unit does recommend a reduction or elimination of secured
cash bail conditions, district judges often disregard the recommendations and
simply rubber stamp the original bail imposed by the Magistrate Defendants.
Sometimes, the district judges impose more onerous conditions instead. Nor, in
most cases, do district judges give serious consideration to indigency or justify the
setting of continued secured cash bail conditions by making evidence-based
individualized findings on the record that the arrestee poses an unmanageable
flight risk or identifiable and articulable danger to the public. Thus, many arrestees
remain unconstitutionally detained for weeks, months, or longer due to their
inability to afford bail.


                                         38
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.839 Filed 07/11/22 Page 40 of 66




      104. Conducting arraignments is one of the central job duties of the

Magistrate Defendants.

      105. The Michigan Indigent Defense Commission has announced a

standard recommending that all jurisdictions in Michigan provide counsel for

indigent arrestees at the time of arraignment.       This standard has not been

implemented in the 36th District Court.

   D. The Period of Automatic Detention Resulting from Defendants’ Policies
      and Practices Unconstitutionally Discriminates Against Indigent
      Defendants.

      106. As the result of the Arraignment Policies and Practices, the Defendant

Magistrates routinely send indigent arrestees to jail without providing them with an

opportunity for a bail hearing at which their indigency will even be mentioned.

This policy causes extraordinary harm for indigent arrestees, and yet is completely

ineffective at accomplishing any permissible judicial or governmental purpose, let

alone being narrowly tailored to achieve a compelling governmental purpose, as

required by the Due Process and Equal Protection clauses.




                i. The Arraignment Policies and Practices Inflict Severe
                   Harm on Indigent Arrestees.

      107. Sitting in jail for more than a week—at a time when a person is still

presumed innocent—is an inherently harmful deprivation of liberty. Beyond the

                                          39
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.840 Filed 07/11/22 Page 41 of 66




jail time itself, a person who is detained for even a few days will often face serious

collateral consequences that can devastate that person’s life for years or decades to

come.12 At the very least, she is likely to lose income from missing work. Much

worse, after two or three days she is likely to face a serious risk of being fired

altogether, a risk that dramatically increases with each additional day of detention.

She may miss rent payments and get evicted.13 She may suffer setbacks in an

educational program or miss important medical appointments. She may even lose

custody of her children because of her inability to arrange for childcare. Indeed,

studies show what may already be obvious, namely that the results of pretrial

detention can be quite long-lasting. 14


12
  See Barker v. Wingo, 407 U.S. 514, 532-33 (1972) (“The time spent in jail
awaiting trial has a detrimental impact on the individual. It often means loss of a
job; it disrupts family life; and it enforces idleness. Most jails offer little or no
recreational or rehabilitative programs. The time spent in jail is simply dead time.
Moreover, if a defendant is locked up, he is hindered in his ability to gather
evidence, contact witnesses, or otherwise prepare his defense. Imposing those
consequences on anyone who has not yet been convicted is serious. It is especially
unfortunate to impose them on those persons who are ultimately found to be
innocent.”)
13
  See Erika Kates, Moving Beyond Incarceration for Women in Massachusetts:
The Necessity of Bail/Pretrial Reform, Wellesley Centers for Women, 2, 4-5
(March 2015) (survey of women in pretrial detention demonstrated that almost half
were at risk of losing their home).
14
  Ex. B, Will Dobbie, Jacob Goldin, & Crystal S. Yang, The Effects of Pretrial
Detention on Conviction, Future Crime, and Employment: Evidence from
Randomly Assigned Judges, 108 Am. Econ. Rev. 201, 235 (2018) (“We find
suggestive evidence that in the first two years after the bail hearing, pre-trial

                                          40
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.841 Filed 07/11/22 Page 42 of 66




      108. Largely as a result of the rapid effects of even short periods of pre-

trial detention, research shows that suicides are the leading cause of death in local

jails, and occur at a rate higher than in state prisons.15 Indeed, more than one-third

of such suicides occur during the first seven days of detention, a fact attributable to

the shock of corresponding job and/or housing loss.16

      109. Unaffordable secured cash bail also inflicts harms on arrestees’

families. All of the harms described above have obvious impacts on families. In

addition, the loved ones of individuals who are given unaffordable bail are

confronted with the difficult choice of allowing the arrestee to languish in jail or



release increases the joint probability of not being arrested and of being employed,
although our estimates are not precisely estimated. Similarly, we find an increase
in the joint probability of not being rearrested and being employed in the third to
fourth years after the bail hearing. These results indicate that decreases in future
crime may be driven by the same defendants who are employed, suggesting that
pre-trial release may decrease future crime through the channel of increased labor
market attachment.”), available at
https://pubs.aeaweb.org/doi/pdfplus/10.1257/aer.20161503
15
  Margaret E. Noonan, U.S. Dep’t of Justice, Bureau of Justice Statistics,
Mortality in Local Jails and State Prisons, 2000-2013 - Statistical Tables 1, 20
(Aug. 2015), available at https://www.bjs.gov/content/pub/pdf/mljsp0013st.pdf.
16
  Ex. C, Maurice Chammah & Tom Meagher, Why Jails Have More Suicides Than
Prisons, Marshall Project (Aug. 4, 2015) (“One reason why jails have a higher
suicide rate … than prisons … is that people who enter a jail often face a first-time
‘shock of confinement’; they are stripped of their job, housing, and basic sense of
normalcy. Many commit suicide before they have been convicted at all.”),
available at https://www.themarshallproject.org/2015/08/04/why-jails-have-more-
suicides-than-prisons.


                                          41
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.842 Filed 07/11/22 Page 43 of 66




taking out unaffordable debts to cover the secured cash bail conditions—money

that will never be returned to the family if it takes the form of fees paid to bail

bondspersons.    The result for indigent families is increased housing or food

instability and other sacrifices that diminish the life chances of arrestees’ children,

spouses, parents, and other loved ones. 17

      110. For example, Plaintiffs may suffer in numerous ways. Three of seven

Plaintiffs (Ms. Jackson, Ms. Gardner, and Ms. Dixon) missed work at brand new

jobs and have very likely been fired. Yet another Plaintiff (Mr. Ross) has missed a

job interview.

      111. Two Plaintiffs, Mr. Ross and Mr. Moore, have missed classes

(including examinations in Mr. Moore’s case), and will continue to face additional

educational setbacks if their detention continues.

      112. The Plaintiffs’ health is also suffering as a result of their detention.

Mr. Lucas has not received the proper timely medication for his epilepsy,

hypertension, and asthma. Mr. Ross and Ms. Jackson have experienced significant

weight loss, and Mr. Moore has experienced depression.




17
  See Gina Clayton, Endria Richardson, Lily Mandlin, & Brittany Farr, Ph.D.,
Because She’s Powerful: The Political Isolation and Resistance of Women with
Incarcerated Loved Ones, Essie Justice Group, available at
https://www.becauseshespowerful.org/wp-content/uploads/2018/05/Essie-Justice-
Group_Because-Shes-Powerful-Report.pdf

                                          42
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.843 Filed 07/11/22 Page 44 of 66




      113. Almost all of the Plaintiffs face the prospect of losing their housing if

their detention is prolonged, along with the possible loss of their personal items.

Mr. Lucas, for example, fears the loss of his photo albums and the obituaries of his

mother, siblings, and wife—all of whom are deceased.

      114. Plaintiffs’ family members are suffering in their absence too. Ms.

Jackson—a single mother and the sole caregiver to two children—is unable to care

for her children and will certainly experience further difficulties if she is released

as the result of missing her first day at a new job. Ms. Dixon is unable to visit her

children. And, of course, all of Plaintiffs’ loved ones experience the emotion pain

of their absence—at a time when each Plaintiff remains innocent until proven

guilty.

      115. Rather than face these consequences resulting from extended delays

before a bail hearing, research has shown that many people charged with low-level

crimes simply plead guilty rather than spending weeks sitting in jail in order to

assert their innocence.18


18
   Ex. D, Paul Heaton, et al., The Downstream Consequences of Misdemeanor
Pretrial Detention, 69 Stan. L. Rev. 711, 736, 747 (2016), available at
https://review.law.stanford.edu/wp-content/uploads/sites/3/2017/02/69-Stan-L-
Rev-711.pdf; Ex. E, Megan Stevenson, Distortion of Justice: How the Inability to
Pay Bail Affects Case Outcomes, 34 Journal of Law, Economics & Organization,
511, 512, 532 (2018) (finding that a person who is detained pretrial has a 13
percent increase in the likelihood of being convicted and an 18 percent increase in
the likelihood of pleading guilty), available at https://academic.oup.com/
jleo/article/34/4/511/5100740; Emily Leslie & Nolan G. Pope, The Unintended

                                         43
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.844 Filed 07/11/22 Page 45 of 66




      116. To make matters worse, studies also show that individuals detained

pretrial are, on average, given 42% longer jail sentences. In misdemeanor cases

this can happen for the simple reason that the time already served before

negotiating a plea bargain exceeds the sentence that is meted out to similar

defendants who were released and later plead guilty.19 Indeed, controlling for

other factors, pretrial detention is the single greatest predictor of a conviction and a

sentence to jail or prison time.20

      117. Conducting a proper bail hearing before detaining an arrestee, and

appointing defense counsel for the bail hearing, are necessary to avoid this

prejudice and to protect the fairness of criminal proceedings in the 36th District

Court. Appointment of a defense attorney more than doubles the chance that a

judge will release the accused on her own recognizance. In cases where judges do


Impact of Pretrial Detention on Case Outcomes: Evidence from New York City
Arraignment, 60 J.L. & Econ. 529 (2017).
19
  Ex. E, Stevenson, supra note 17, at 513, 534–36; Ex. D, Heaton, et al., supra
note 17, at 717.
20
  See Christopher T. Lowenkamp, Marie VanNostrand & Alexander
Holsinger, Investigating the Impact of Pretrial Detention on Sentencing Outcomes,
Laura & John Arnold Foundation, at pp. 10–11 (Nov. 2013) (finding that people
detained until case disposition are 4.44 times more likely to be sentenced to jail
and 3.32 times more likely to be sentenced to prison), available at
https://craftmediabucket.s3.amazonaws.com/uploads/PDFs/LJAF_Report_state-
sentencing_FNL.pdf; Mary T. Philips, New York City Crim. Justice Agency,
Inc., Pretrial Detention and Case Outcomes, Part 1: Nonfelony Cases, at pp. 25–29
(2007) (finding conviction rate jumps from 50% for people released immediately
pretrial, to 92% for people detained until case disposition).

                                          44
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.845 Filed 07/11/22 Page 46 of 66




choose to order bail, appointment of a defense attorney can more than double the

chance that the judge would lower the bail set to an affordable amount. 21

      118. As discussed above, indigent arrestees in the 36th District Court have

no chance to have their indigency considered in connection with bail until their

probable cause hearing, which occurs at least a week after the arraignment. At that

hearing, they often meet their attorneys for the first time, and the attorneys may

lack helpful facts and evidence to argue persuasively for the elimination of any

cash bail considerations.    Even when the attorney is prepared to make such

arguments, it is not uncommon for district judges to postpone a decision on

reducing bail until the next hearing (the preliminary examination), another five to

seven days later.    By contrast, a low-level arrestee who pleads guilty at the

probable cause hearing in return for a time-served sentence can obtain immediate

release. This effectively coerces some detainees to plead guilty, particularly those

who face some of the harms discussed above, such as eviction, job loss, and loss of

child custody.

                 ii. The Arraignment Policies and Practices Do Not Further
                     Any Valid Judicial or Governmental Goal, Let Alone a
                     Compelling One.

      119. Empirical evidence shows that there is no relationship between

requiring money bail as a condition of release and defendants’ rates of appearance

 Douglas L. Colbert et al., Do Attorneys Really Matter? The Empirical and Legal
21

Case for the Right of Counsel at Bail, 23 Cardozo L. Rev. 1719, 1720 (2002).

                                         45
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.846 Filed 07/11/22 Page 47 of 66




in court. 22 This finding has been affirmed by extensive fact-finding in multiple

federal courts. 23

       120. As for public safety, secured bail is demonstrably harmful. Requiring

people to pay for their release means that people with low incomes spend more

time in jail. After brief periods of detention, each additional day a person spends

locked in jail increases the likelihood that she will be rearrested after she is

released, largely as a result of the economic harms she will have suffered as a

result of her detention. 24


22
  See, e.g., Arpit Gupta, Christopher Hansman, & Ethan Frenchman, The Heavy
Costs of High Bail: Evidence from Judge Randomization, 45 Journal of Legal
Studies 471, 475 (2016) at 5, available at http://www.columbia.edu/~cjh2182/
GuptaHansmanFrenchman.pdf (“[W]e find no evidence that money bail increases
the probability of appearance.”); Ex. F, Michael R. Jones, Unsecured Bonds: The
As Effective and Most Efficient Pretrial Release Option, Pre-Trial Justice Institute
Report at 11 (October 2013), available at https://pdfs.semanticscholar.org/5444/
7711f036e000af0f177e176584b7aa7532f7.pdf.
23
   See, e.g., ODonnell v. Harris Cnty., 882 F.3d 528, 545 (5th Cir. 2018)
(upholding the district court’s “thorough review of empirical data and studies
[finding] that the County had failed to establish any ‘link between financial
conditions of release and appearance at trial or law-abiding behavior before
trial’”); Schultz v. Alabama, 330 F. Supp. 3d 1344, 1362 (N.D. Ala. 2018)
(“[Plaintiff] offered expert testimony and empirical studies to demonstrate that
secured money bail is not more effective than unsecured bail or non-monetary
conditions of release in reducing the risk of flight from prosecution.”).
24
   See Ex. D, Heaton, supra note 17, at 762 (“[B]y one month after the hearing the
average number of new charges for detainees has exceeded that of their similarly
situated counterparts who were released. To the extent that the rich set of controls
allows one to construe these differences as causal, they suggest that pretrial
detention has a greater criminogenic than deterrent effect.”); Christopher T.
Lowenkamp, Marie VanNostrand & Alexander Holsinger, The Hidden Costs of

                                         46
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.847 Filed 07/11/22 Page 48 of 66




        121. The use of secured bail also tends to have a severely disparate impact

on Black and Latino arrestees. African-Americans are five times more likely to be

detained in the first place than their white counterparts, and three times more likely

to be detained than their Latino counterparts.25 In turn, African-Americans and

Latinos are more likely than whites to be held in continued detention because they

cannot afford their bail.26 As stated above, people who cannot afford to pay for

their    release—disproportionately      African-Americans           and   Latinos—are

significantly more likely to abandon valid defenses and plead guilty just to get out

of jail and they are more likely to receive longer jail sentences.

        122. In the Wayne County Jails, approximately 90% of the individuals

being held pre-trial on charges exclusively originating from the 36th District Court

identified as African-American or Black.




Pretrial Detention, Laura & John Arnold Foundation, at 19–20 (November 2013)
(“Defendants detained pretrial were 1.3 times more likely to recidivate compared
to defendants who were released at some point pending trial.”), available at
https://craftmediabucket.s3.amazonaws.com/uploads/PDFs/LJAF_Report_hidden-
costs_FNL.pdf.
25
  See, e.g., Bail Fail: Why the U.S. Should End the Practice of Using Money for
Bail, Justice Policy Inst. 15 (2012), available at http://www.justicepolicy.org/
uploads/justicepolicy/documents/bailfail.pdf.
26
  See Stephen Demuth, Racial and Ethnic Differences in Pretrial Release
Decisions and Outcomes: A Comparison of Hispanic, Black and White Felony
Arrestees, 41 Criminology 873, 889–90, 899 (2003).

                                          47
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.848 Filed 07/11/22 Page 49 of 66




      123. The 36th District Court has other, more effective and less harmful,

options for administering its arraignments and bail conditions. Recognizing the

limitations and dangers of secured bail, other jurisdictions rely on alternative

measures to ensure that people show up for court. The simplest of these measures

is a personal bond, which means a person is released in exchange for her promise

to pay money only if she actually fails to appear in court. A personal bond is

equally effective at securing court appearances as secured bail.27

      124. In fact, personal bonds are an option easily available to the Defendant

Magistrates. As described above, Michigan’s court rules provide that personal

bond is to be the rule, not the exception, for most offenses absent individualized

evidence justifying an alternate approach. Yet in the 36th District Court, secured

cash bail conditions imposed with no inquiry into an arrestee’s indigency are

common, and even when personal bonds are granted they are not granted as a

result of an inquiry into the arrestee’s ability or inability to afford secured cash bail

conditions.

      125. Other less discriminatory yet equally effective alternatives range from

simple, low-cost interventions to help people appear in court, such as reminders of



27
  See, e.g., ODonnell, 882 F.3d at 545; see also Gupta, supra note 21, at 21; Ex. F,
Jones, supra note 21, at 11 (“Whether released defendants are higher or lower risk
or in-between, unsecured bonds offer the same likelihood of court appearance as
do secured bonds.”).

                                           48
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.849 Filed 07/11/22 Page 50 of 66




court dates and transportation to court, 28 to more intensive supervision, such as

required reporting, curfews, maintaining existing employment or, in what should

be unusual circumstances, electronic monitoring at no expense to the indigent

arrestee.29 The key to effective implementation of these alternatives is to tailor

conditions of release or detention according to the needs and abilities of each

individual.

      126. This approach works.      For example, Washington, D.C. has relied

heavily on alternatives to cash bail for more than twenty years. The District of

Columbia enjoys a reappearance rate of 90%, with no rearrest for violent crime for

over 98% of people.30 The cost of release is approximately $18 per person per day,


28
  E.g., Ex. G, Brice Cooke et al., Using Behavioral Science to Improve Criminal
Justice Outcomes: Preventing Failures to Appear in Court, University of Chicago
Crime Lab, at 15–18 (Jan. 2018), available at
https://urbanlabs.uchicago.edu/attachments/store/9c86b123e3b00a5da58318f438a6
e787dd01d66d0efad54d66aa232a6473/I42-
954_NYCSummonsPaper_Final_Mar2018.pdf.
29
  E.g., Christopher Lowenkamp & Marie VanNostrand, Exploring the Impact of
Supervision on Pretrial Outcomes, Laura and John Arnold Foundation, at 17 (Nov.
2013), available at
https://craftmediabucket.s3.amazonaws.com/uploads/PDFs/LJAF_Report_Supervis
ion_FNL.pdf.
30
  Washington D.C. Pre-Trial Services Performance Measures for FY 2011–15,
archived at https://perma.cc/AT9Y-V4EL; see also Tim Schnacke, Fundamentals of
Bail: A Resources Guide for Pretrial Practitioners and a Framework for American
Pretrial Reform, U.S. Dep’t of Justice, Nat’l Inst. of Corrections (2014)
(discussing Washington, D.C.’s experience), available at
http://www.clebp.org/images/2014-11-
05_final_bail_fundamentals_september_8,_2014.pdf.

                                       49
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.850 Filed 07/11/22 Page 51 of 66




compared with the cost of approximately $165 per person per day to lock someone

in a Wayne County Jail.

      127. In fact, setting secured cash bail conditions that are unaffordable

defeats the very purpose of secured cash bail conditions—to incentivize a person to

return to court. If bail is set high enough that the arrestee cannot afford to pay, the

arrestee remains in jail instead of leaving jail with some financial incentive to

return. This fact removes any legitimate (let alone compelling) state interest in the

setting of a financial condition. Unaffordable cash bail may be a backdoor way of

indefinitely detaining an individual without quite saying so, but it does nothing to

promote its supposed purpose of allowing the individual to be released with an

incentive to return to court. In any event the Arraignment Policies and Practices do

not keep all arrestees out of the community pre-trial; they keep only poor arrestees

who cannot afford bail out of the community while those who can afford to buy

their freedom are able to leave jail, avoid collateral consequences of their arrest,

and actively participate in their defense.

   E. The 36th District Court’s Arraignment Policies and Practices Deprive
      People of Liberty Without Adequate Procedural Protections and
      Without Constitutionally Required Findings.

      128. The Arraignment Policies and Practices also violate procedural due

process by depriving people of their liberty without adequate procedural

protections.



                                             50
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.851 Filed 07/11/22 Page 52 of 66




      129. As described above, bail is initially set by the Magistrate Defendants

at arraignment.   Yet, by their design, the Arraignment Policies and Practices

deprive arrestees of notice of the basis upon which bail is being determined and

notice that their ability to pay is, or at least should be, relevant. Because indigent

arrestees also do not have counsel at arraignment, counsel cannot provide the

notice that the Magistrate Defendants fail to provide.

      130. Thus, instead of holding a bail hearing, Magistrate Defendants simply

impose secured cash bail conditions via a cursory and summary procedure that

lacks any of the hallmark protections that are required before a person can

constitutionally be deprived of her liberty prior to trial: a counseled hearing where

the person can present and rebut evidence concerning flight risk or danger to the

community; advance notice of the hearing; and individualized, reasoned findings,

by clear and convincing evidence, that no other non-financial release conditions

could address any risk of flight or danger to the community.

      131. The 36th District Court could provide a constitutionally adequate

pretrial detention proceeding at arraignment that would be consistent with

Michigan law. Instead, it continues to operate a pretrial detention system based on

wealth.

                       CLASS ACTION ALLEGATIONS

      132. The named Plaintiffs seek injunctive and declaratory relief, on behalf


                                         51
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.852 Filed 07/11/22 Page 53 of 66




of themselves and all others similarly situated, under Rules 23(a),23(b)(2), and

23(c)(4) of the Federal Rules of Civil Procedure. Plaintiffs seek to represent the

class composed of all pre-trial detainees whose bail is set at arraignments in the

36th District Court and who, as a result of the policies and practices followed by

Defendants when setting bail, face detention because they are unable to pay

imposed secured cash bail conditions.

      133. This action satisfies the numerosity, commonality, typicality, and

adequacy requirements of those provisions.

      A.     Numerosity, Fed. R. Civ. P. 23(a)(1)

      134. According to the 36th District Court’s website, it is “the largest

district court in the State of Michigan and one of the busiest courts in the United

States.” In turn, the Wayne County jail system is the largest and busiest county jail

system in the state, with the capacity to incarcerate over 2,900 people and with an

average daily population of 1,600 to 1,700 detained individuals. Approximately

62% of the detained people in the Wayne County Jail are pre-trial arrestees. The

vast majority of arrestees who fail to post bond do so because they cannot afford to

meet the secured cash bail conditions imposed under the Arraignment Policies and

Practices.   As a result, the number of current and future arrestees subject to

Arraignment Policies and Practices easily numbers in the thousands.

      135. The population of people detained pretrial is constantly changing.


                                         52
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.853 Filed 07/11/22 Page 54 of 66




Dozens of people are arraigned in the 36th District Court nearly every day, and a

significant proportion are detained after failing to satisfy secured cash bail

conditions imposed at the arraignment.         In turn, arrestees exit the class at

unpredictable intervals as their cases are resolved through plea bargains,

dismissals, and trial. Or, if they are eventually bailed out despite their indigency,

this often occurs only because the arrestee has taken on unaffordable debt in order

to secure her release or because of the fortuitous intervention of a charitable third-

party.

         136. Joinder is impracticable because the class is both too numerous and

too fluid for the Court to feasibly hear their independent claims.

         137. Joinder is also impracticable because the members of the class are, by

definition, too poor to hire lawyers to bring independent claims.

         B.    Commonality, Fed. R. Civ. P. 23(a)(2)

         138. The relief sought is common to all members of the Class, and

common questions of law and fact exist as to all members of the Class. The named

Plaintiffs seek a declaratory judgment that the 36th District Court’s Arraignment

Policies and Procedures are unconstitutional, and an order enjoining them, on

grounds that they violate the Due Process and Equal Protection Clauses of the

Fourteenth Amendment and the Sixth Amendment right to counsel. They also seek

an injunction prohibiting the Sheriff from detaining arrestees after the arraignment


                                          53
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.854 Filed 07/11/22 Page 55 of 66




absent assurances that an actual bail hearing has occurred at which indigency and

ability to pay are properly considered. These claims and remedies are common to

the entire class and would apply equally to all class members. Furthermore, the

Arraignment Policies and Practices apply openly and in materially the same

manner every day with respect to all people arraigned at the 36th District Court.

Resolution of the legal and factual issues raised by this Complaint will determine

whether all the members of the class are entitled to the constitutional relief that

they seek.

      139. Among the most important common questions of fact are:

         • Whether the Magistrate Defendants have a widespread, well-settled
           policy and practice of setting secured cash bail conditions without
           inquiring into ability to pay and without considering alternative less
           restrictive bail conditions;

         • Whether Magistrate Defendants have a widespread, well-settled
           policy and practice of setting unaffordable secured bail for indigent
           arrestees without adequate procedural protections, including notice, an
           opportunity to present and contest evidence, appointment of counsel,
           and reasoned findings based on clear and convincing individualized
           evidence on the record that there are no less restrictive means of
           mitigating any unmanageable flight risk or identifiable and articulable
           danger to the community;

         • Whether Magistrate Defendants are deliberately blind to evidence of
           indigency, in the form of arrestees’ requests for appointed counsel,
           and when and how such information is made available to the 36th
           District Court;

         • Whether the Arraignment Policies and Practices are known to,
           approved of, and/or ordered by Defendant Blount;


                                        54
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.855 Filed 07/11/22 Page 56 of 66




           • Whether the secured cash bail conditions imposed by Magistrate
             Defendants at arraignments result in pretrial detention, and the length
             of such pretrial detention;

           • Whether unaffordable secured cash bail conditions undermine the
             fairness of plea bargaining and coerce guilty pleas; and

              How long class members must wait in jail after arrest before they have
              a meaningful opportunity to raise their inability to pay for their release
              or to request alternative, non-financial conditions.

      140. Among the most important common questions of law are:

           • Whether imposing unaffordable secured cash bail without providing a
             hearing at which the arrestee may have her inability to pay properly
             considered violates Substantive Due Process and Equal Protection
             principles guaranteed by the Fourteenth Amendment by
             discriminatorily depriving indigent arrestees of their liberty while
             wealthier arrestees are able to secure their pretrial freedom;

           • Whether the Arraignment Policies and Practices violate the Procedural
             Due Process guarantees of the Fourteenth Amendment by depriving
             the class members of their pre-trial liberty without adequate
             procedural protections including notice, an opportunity to present and
             contest evidence, appointment of counsel, and reasoned individualized
             findings on the record that unaffordable secured bail is the least
             restrictive means of mitigating any risk of flight of danger to the
             community; and

           • Whether the Arraignment Policies and Practices violate arrestees’
             Sixth Amendment right to counsel.

      C.      Typicality, Fed. R. Civ. P. 23(a)(3)

      141. The named Plaintiffs’ claims are typical of the claims of the other

members of the class. Each class members suffers, or will suffer, the same injury

because Defendants fail to comply with basic constitutional requirements.


                                          55
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.856 Filed 07/11/22 Page 57 of 66




Namely, all class members are confined in jail (or will be) because they cannot

afford to pay secured cash bail conditions that they had no opportunity to contest

because they were denied a hearing at which indigency could be considered. The

answer to whether the Arraignment Bail Policy and Practices are constitutional will

determine the claims of the named Plaintiffs as well as every other class member.

      142. If the named Plaintiffs succeed in the claim that the Arraignment

Policies and Practices violate their constitutional rights, that ruling will likewise

benefit every other member of the class.

      D.     Adequacy, Fed. R. Civ. P. 23(a)(4)

      143. The named Plaintiffs are adequate representatives of the Class

because their interests in the vindication of their legal claims is entirely aligned

with the interests of the other class members, each of whom has the same basic

constitutional claims. The named Plaintiffs are members of the class, and their

interests do not conflict with those of the other class members.

      144. There are no known conflicts of interest among members of the

proposed class. All of the respective class members have a similar interest in

vindicating their constitutional rights by receiving a hearing in which their

indigency is properly considered pursuant to constitutional standards and with an

attorney present.

     145.    Plaintiffs are represented by attorneys from the American Civil


                                           56
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.857 Filed 07/11/22 Page 58 of 66




Liberties Union Foundation, the American Civil Liberties Union Fund of

Michigan, Covington & Burling LLP.31            Counsel have extensive combined

experience litigating class actions and complex civil rights matters in federal court

and extensive knowledge of both the details of the 36th District Court’s

Arraignment Policies and Procedures and the relevant constitutional and statutory

law. Counsel include litigators who have specific experience with this type of

claim, having litigated similar issues in class action lawsuits in other fora around

the country. Counsels’ relevant qualifications were set forth in the pending Motion

for Class Certification filed concurrently with the original complaint.

     146.    Counsel have a detailed understanding of state law and practices as

they relate to federal constitutional requirements. Counsel have studied the way

that these systems function in other jurisdictions around the country in order to

investigate the wide array of lawful options in practice in other municipalities.

     147.    Counsel have devoted significant time and resources to becoming

familiar with the 36th District Court’s and Wayne County Jails’ pretrial detention

practices and with the relevant state and federal laws and procedures that can and

should govern them. The interests of the members of the class will be fairly and

adequately protected by the Plaintiffs and their attorneys.

31
  Since the filing of the original complaint in this matter, two of the undersigned
counsel, Twyla Carter and Amia Trigg, have moved to employers, but both
continue to represent Plaintiffs in their positions at The Bail Project and NAACP
Legal Defense Fund, respectively.

                                         57
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.858 Filed 07/11/22 Page 59 of 66




            E. Injunctive and Declaratory Relief Are Appropriate, Fed. R. Civ.
               P. 23(b)(2)

         148. Class-action status under Rule 23(b)(2) is appropriate because the

Defendants, through the Arraignment Policies and Practices, have acted in the

same unconstitutional manner with respect to all class members.

         149. Plaintiffs seek declaratory and injunctive relief prohibiting Defendants

from continuing to administer their Arraignment Policies and Practices. The relief

sought is appropriate for the class as a whole.

                               CLAIMS FOR RELIEF

                                   COUNT ONE
                                 42 U.S.C. § 1983
            Violation of the Equal Protection and Due Process Clauses:
                     Wealth-Based Discriminatory Detention

         150. Plaintiffs incorporate all of the allegations above.

         151. Under the Arraignment Policies and Practices, Defendants cause

Plaintiffs to be locked in jail because they are unable to pay secured cash bail

conditions, while releasing otherwise similarly-situated people who are able to pay.

The 36th District Court’s wealth-based system of imprisonment locks poorer—but

still presumptively innocent—people in jail while allowing wealthier individuals

accused of the same crimes and with similar criminal backgrounds to go free until

trial.




                                           58
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.859 Filed 07/11/22 Page 60 of 66




       152. Defendants routinely set these unaffordable secured bail amounts

without any individualized inquiry into or findings concerning: (1) the arrestee’s

ability to pay; (2) whether clear and convincing evidence demonstrates that the

arrestee presents an unmanageable flight risk or identifiable and articulable danger

to the community; and (3) whether other less restrictive, non-financial conditions

could instead suffice to address any concerns regarding protection of the public or

flight risk.

       153. The 36th District Court’s wealth-based Arraignment Policies and

Practices violate Plaintiffs’ rights to Equal Protection and Due Process under the

Fourteenth Amendment to the United States Constitution.

                                  COUNT TWO
                                 42 U.S.C. § 1983
                      Violation of Substantive Due Process:
                         Unjustified Pre-Trial Detention

       154. Plaintiffs incorporate all of the allegations above.

       155. Under the Arraignment Policies and Practices, the Magistrate

Defendants set unaffordable secured bail that functionally deprives Plaintiffs of

their pre-trial liberty via uncounseled summary arraignments that involve no

opportunity for Plaintiffs to introduce evidence or address proper bail conditions.

       156. These unaffordable bail amounts function as de facto pretrial

detention orders.     Defendants set these unaffordable bail amounts without

providing advance notice of the rights at stake, appointment of defense counsel, the

                                         59
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.860 Filed 07/11/22 Page 61 of 66




opportunity to present or contest evidence, or a written record of reasoned findings

by clear and convincing evidence that secured bail in the amount set is the least

restrictive means of achieving a valid and compelling government interest. Nor do

Defendants make any formal determination—let alone an individualized written

determination by clear and convincing evidence—that the individual poses an

unmanageable flight risk or a specific and articulable threat to the community.

      157. This practice fails to adequately justify the pre-trial deprivation of

liberty of an arrested person, thus violating the right to substantive due process

guaranteed by the Fourteenth Amendment to the United States Constitution.

                              COUNT THREE
                              42 U.S.C. § 1983
                    Violation of Procedural Due Process:
    Failure to Provide Adequate Hearings Before Depriving Plaintiffs of a
                        Guaranteed Liberty Interest

       158. Plaintiffs incorporate all of the allegations above.

       159. Under the Arraignment Policies and Practices, the Magistrate

Defendants do not make any individualized findings that an arrestee presents an

unmanageable flight risk or an identifiable and articulable danger to others if she is

released, nor do they make any individualized findings that non-financial bail

conditions will not suffice to address any such risks.

       160. The Michigan Constitution guarantees a right to bail by “sufficient

sureties” to all arrestees, with the very limited exception of four enumerated groups


                                         60
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.861 Filed 07/11/22 Page 62 of 66




of the criminally accused who may be detained without bail if “the proof is evident

or the presumption great.” The Michigan Court Rules further create a state-

conferred expectation of release without secured cash bail unless a court has made

a specific individualized finding on the record that an arrestee’s appearance or the

protection of the public cannot otherwise be assured. The Arraignment Policies

and Procedures, by contrast, result in unaffordable cash bail being presumptively

imposed and without the requisite findings being made.            Nor are any other

procedural protections provided to ensure that arrestees’ liberty interests are not

erroneously extinguished.

       161. These procedures deprive arrestees of a state-guaranteed liberty

interest without sufficient procedural protections and without any adequate

countervailing government interest.     Therefore, the Arraignment Policies and

Practices violate the Plaintiffs’ right to procedural due process guaranteed by the

Fourteenth Amendment to the United States Constitution.

                                COUNT FOUR
                                42 U.S.C. § 1983
               Violation of Sixth Amendment Right to Counsel:
                Failure to Provide Counsel at a Critical Stage

      162. Plaintiffs incorporate all of the allegations above.

      163. Under the Arraignment Policies and Practices, Defendants set

unaffordable bail at the arraignments without defense counsel present. Defendants

then lock Plaintiffs in jail because Plaintiffs are unable to pay their bail. This

                                        61
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.862 Filed 07/11/22 Page 63 of 66




initial detention cannot feasibly be challenged by an indigent person with the

assistance of counsel until at least one week, and usually two weeks, have passed.

      164. The Sixth Amendment to the United States Constitution, incorporated

against the States by the Fourteenth Amendment, guarantees criminal defendants

the right to counsel at each critical stage of the criminal process. Critical stages

include all pretrial hearings that may prejudice the fairness of subsequent criminal

proceedings, including the decision to plea bargain.

      165. The setting of bail has the power to severely prejudice the fairness of

subsequent criminal proceedings. Unaffordable bail can settle the fate of the

person accused and render subsequent proceedings a mere formality by inducing

plea bargains. In addition, proper determination of bail can require addressing

substantive allegations against the arrestee and the strength of the case against the

arrestee—issues that can prejudice subsequent proceedings if addressed without

counsel. Bail setting in the 36th District Court is therefore a critical stage of

prosecution, and the Sixth Amendment requires that arrestees have the benefit of

counsel when bail is set. By setting Plaintiffs’ bail without first appointing defense

counsel to represent and assist them, the Arraignment Policies and Practices violate

the right to counsel guaranteed by the Sixth Amendment to the United States

Constitution.




                                         62
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.863 Filed 07/11/22 Page 64 of 66




                             RELIEF REQUESTED

      Plaintiffs request that this Court issue the following relief on behalf of

themselves and all members of the proposed class:

      1.    An order certifying the class defined above;

      2.    An order entering judgment in favor of Plaintiffs and against
            Defendants;

      3.    A declaratory judgment that the Arraignment Policies and Procedures
            violate Plaintiffs’ rights to equal protection, substantive and
            procedural due process, and counsel as set forth above;

      4.    A permanent injunction prohibiting the Magistrate Defendants and
            Chief Judge Blount from maintaining the Arraignment Policies and
            Practices described above, and from failing to provide a prompt bail
            hearing with constitutionally adequate findings and procedures, at
            which the indigence of arrestees is considered and properly accounted
            for, and arrestees are not unjustifiably detained due to their inability to
            afford cash bail. Such hearings must occur promptly after arrest and
            include:

            a.     Advance written notice to the arrestee of the factors to be
                   considered in setting bail, and in particular notice that evidence
                   of indigency is relevant to the setting of secured cash bail
                   conditions;

            b.     A meaningful, individualized inquiry into ability to pay;

            c.     Appointment and presence of counsel for the hearing for any
                   arrestee who cannot afford to retain counsel;




                                         63
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.864 Filed 07/11/22 Page 65 of 66




             d.    If the court is considering setting unaffordable bail as the result
                   of evidence that the arrestee presents an unmanageable flight
                   risk or an identifiable and articulable danger to the community,
                   the arrestee must have notice of the evidence in question and an
                   opportunity to testify, present her own evidence, and rebut the
                   evidence against her;

             e.    Reasoned written findings, on the record, of the arrestee’s
                   ability to pay; and

             f.    If unaffordable secured cash bail is to be imposed, reasoned
                   written findings must be made, on the record and by clear and
                   convincing evidence, that detention is necessary because there
                   is no other less restrictive means (or combination of means) of
                   mitigating the arrestee’s unmanageable risk of flight or an
                   identifiable and articulable danger to an individual or the
                   community.

      5.     A permanent injunction prohibiting the Sheriff and his employees and
             agents from taking custody over and/or continuing to detain any
             indigent arrestee after arraignment unless there has been a
             constitutionally adequate inquiry, as described above, into the
             arrestee’s ability to satisfy any secured cash bail conditions;

      6.     An order granting reasonable attorneys’ fees and costs under 42
             U.S.C. § 1988; and

      7.     Any other relief this Court deems just and proper.

In addition, Plaintiffs each request individual damages on behalf of themselves
only, reflecting the financial and emotional harm that Plaintiffs allege has resulted
from their pre-trial incarceration, including but not limited to loss of employment
and wages, resulting housing insecurity, and other impacts of their incarceration.


                                       Respectfully Submitted,




                                         64
Case 2:19-cv-11076-LJM-EAS ECF No. 50, PageID.865 Filed 07/11/22 Page 66 of 66




/s/Philip Mayor                          /s/ Aaron Lewis
Philip Mayor (P81691)                    Aaron Lewis (P68688)
Daniel S. Korobkin (P72842)              Covington & Burling LLP
American Civil Liberties Union Fund      1999 Avenue of the Stars
  of Michigan                            Los Angeles, CA 90067-4643
2966 Woodward Ave.                       (424) 332-4800
Detroit, MI 48201                        alewis@cov.com
(313) 578-6803
pmayor@aclumich.org                      Marta Cook*
dkorobkin@aclumich.org                   Laura Beth Cohen (P83111)*
                                         Covington & Burling LLP
                                         One CityCenter
/s/Brandon Buskey                        850 Tenth Street NW
Brandon J. Buskey*                       Washington, DC 20001-4656
American Civil Liberties Union           (202) 662-6000
  Foundation, Criminal Law Reform        mcook@cov.com
  Project                                lcohen@cov.com
125 Broad Street, 18th Floor
New York, NY 10004                       /s/ Twyla J. Carter
(212) 549-2500                           Twyla J. Carter
bbuskey@aclu.org                         The Bail Project
                                         PO Box 750
/s/Amia L. Trigg                         Venice, CA 90294
Amia L. Trigg                            (323) 505-9293
NAACP Legal Defense and                  twylac@bailproject.org
  Educational Fund, Inc.
700 14th Street, Suite 600
Washington, D.C. 20005-3202
(202) 682-1300
atrigg@naacpldf.org



Attorneys for Plaintiffs

*Cosigning pursuant to L.R. 83.20(i)(1)(D)(i).

Dated: July 11, 2022




                                        65
